           Case
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                       UNITED STATES COURT OF APPEALS
                                  FOR THE
                               SECOND CIRCUIT

        At a Stated Term of the United States Court of Appeals for the Second Circuit, held at the
Thurgood Marshall United States Courthouse, 40 Foley Square, in the City of New York, on the
18th day of June, two thousand twenty.

Before:     Susan L. Carney,
                   Circuit Judge.
________________________________

 Andrew U.D. Straw,                                                                      7/23/2020
                                                   ORDER
              Plaintiff - Appellant,
                                                   Docket No. 20-1507
 v.

 Wolters Kluwer United States Inc., Lisa G.
 Lerman, Philip G. Schrag, Robert Rubinson,

           Defendants - Appellees.
 ________________________________


        Appellant, an attorney who seeks to represent himself in this appeal, is a member of the
Virginia bar in good standing. As an attorney seeking to appear in this Court, he has moved for
waiver of the requirement that he seek either full or pro hac vice admission to this Court’s bar in
order to appear on his own behalf. He also asks the Court to “reverse the default dismissal” of
his appeal for failure to cure the defect in his filing Forms C and D without having
sought admission to the Court’s bar and also requests that the Court direct the Clerk to accept his
filings as a non-lawyer pro se litigant.

       Upon due consideration, IT IS HEREBY ORDERED that the motion is denied in all
respects. LR 46.1. Appellant is directed to apply for full admission or move for pro hac vice
admission to the bar of this Court within ten days of the date of this order. The order dismissing
the appeal on default is amended to extend the effective date of the dismissal to July 1, 2020.



                                                     For the Court:

                                                     Catherine O’Hagan Wolfe,
                                                     Clerk of Court
